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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 E.T. et al.,                                                                 1/12/2021
                                Plaintiffs,
                                                               1:20-cv-08322 (JMF) (SDA)
                    -against-
                                                               ORDER
 New York City Department of Education,

                                Defendant.


STEWART D. AARON, UNITED STATES MAGISTRATE JUDGE:

        Following a telephone conference today at which only counsel for Defendant appeared,

the Court orders that the parties appear for a telephone conference on Tuesday, February 16,

2021, at 2:00 p.m. EST to discuss the status of this action. At the scheduled time, the parties shall

each separately call (888) 278-0296 (or (214) 765-0479) and enter access code 6489745.

        Failure of Plaintiffs’ counsel to appear at that February 16 conference may result in the

imposition of sanctions.

SO ORDERED.

DATED:          New York, New York
                January 12, 2021

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                                                      STEWART D. AARON
                                                      United States Magistrate Judge
